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  MICHAEL R. ABRAMS                                                                                             (512) 936-1700
  Assistant Solicitor General                                                                      Michael.Abrams@oag.texas.gov

                                                           June 16, 2023


Via CM/ECF
Lyle W. Cayce
Clerk of Court
United States Court of Appeals
Fifth Circuit
600 S. Maestri Place
New Orleans, Louisiana 70130

   Re:      Vote.org v. Scott, No. 22-50536

Dear Mr. Cayce:

   This letter responds to Appellee’s Rule 28(j) letter of June 12, 2023.

   The Supreme Court’s decision in Health and Hospital Corporation of Marion
County v. Talevski, No. 21-806 (June 8, 2023), reaffirms that “[s]tatutory provisions
must unambiguously confer individual federal rights” to create rights enforceable
through section 1983. Slip op. 11 (citing Gonzaga Univ. v. Doe, 536 U.S. 273, 280
(2002)). The Court described this requirement as a “demanding bar,” a “significant
hurdle,” and a “stringent standard.” Id. at 11, 14, 16.

    The unnecessary-restraint and predischarge-notice provisions in the Federal
Nursing Home Reform Act (FNHRA) overcame that hurdle based on their text and
the context of FNHRA’s larger scheme, which focused on individual residents. Id.
at 15-16. If anything, Talevski supports, rather than “forecloses,” Appellants’
arguments. Appellee Ltr. 1. As Justice Barrett’s concurrence emphasized, the bar “is
high, and although the FNHRA clears it, many federal statutes will not.” Talevski,
slip op. 2.

   In that regard, the materiality provision does not have the “rights-creating”
framing found in FNHRA. Slip. op. 14–15. Instead, the materiality provision and
surrounding provisions are framed as a ban on discriminatory conduct, see 52 U.S.C.
§ 10101(a)(2), and that is insufficient to unambiguously confer individual federal

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rights, see Gonzaga, 536 U.S. at 287. Moreover, the materiality provision is
surrounded by a comprehensive enforcement scheme and an express conferral of
authority on government officials to sue, 52 U.S.C. § 10101(c), (d), (e), so section
1983 is unavailable for enforcement even if there is a right—which there is not. See
Talevski, slip op. 3 (Barrett, J., concurring).

    In any event, Talevski confirms the longstanding principle that only the person
whose rights have been violated and who falls within the class of benefited persons
(or a family member on their behalf) may bring suit. See slip op. 4–5, 14. Thus, even
if there were an unambiguously conferred right and a path to assert it through section
1983, such a claim would belong to voters, not an unrelated third party like Vote.org.
Appellants’ Reply Br. 11–12.

                                                                              Respectfully submitted.

                                                                              /s/ Michael R. Abrams

                                                                              Michael R. Abrams
                                                                              Counsel for Appellant John Scott,
                                                                              Provisional Attorney General of Texas

                                                                              /s/ Autumn Hamit Patterson

                                                                              Autumn Hamit Patterson
                                                                              Counsel for Appellants Lupe C. Torres
                                                                              and Terrie Pendley




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